         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3696
                 LT Case No. 2012-CF-003671-A
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RON ALSTON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Seminole County.
Donna M. Goerner, Judge.

Matthew J. Metz, Public Defender, and Edward J. Weiss,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Marissa V.
Giles, Assistant Attorney General, Daytona Beach, for Appellee.


                        August 23, 2024


PER CURIAM.

    Appellant Ron Alston appeals the trial court’s revocation of
his probation and resulting prison sentence. We affirm without
comment his probation revocation.
     However, we reverse the sentence because the trial court
imposed the previously suspended twelve-year sentence without
affording Alston a sentencing hearing. While the sentence imposed
was clearly lawful and within the discretion of the trial court, the
imposition of sentence—without allowing Alston an opportunity to
present evidence and argument regarding his sentence—was not.
See Witt v. State, 983 So. 2d 708 (Fla. 5th DCA 2008). As the State
rightly concedes before this Court, doing so was fundamental error
that violated Alston’s constitutional right to due process. See
Smith v. State, 268 So. 3d 831, 834 (Fla. 1st DCA 2019) (“A trial
court's refusal to hear evidence and argument regarding a
sentence constitutes a denial of due process and is fundamental
error.”).

    Accordingly, we affirm the revocation of Alston’s probation but
reverse the sentence imposed. The case is remanded to the trial
court for a sentencing hearing to be conducted before a new trial
judge. See id. at 834–35.

     AFFIRMED in part; REVERSED in part and REMANDED for
further proceedings consistent with this opinion.



EDWARDS, C.J., and SOUD and BOATWRIGHT, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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